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                                                                                3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY (JP7140)
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    In re:                                                 Case No. 08-14631
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                           Judge: Gloria M. Burns
                    Debtors.
                                                  Chapter: 11
                           ORDER AUTHORIZING THE DEBTORS TO
                          PAY PRE-PETITION SALES AND USE TAXES

             The relief set forth on the following page, numbered two (2) is hereby ORDERED.




DATED: 3/18/2008
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Arch/Shapes Holdings L.L.C., et al.

Case No. 08-

Order Authorizing Debtors To Pay Pre-Petition Sales And Use Taxes


         Upon consideration the verified motion (the “Motion”)1 of the above-captioned debtors

and debtors-in-possession (the “Debtors”), for an Order authorizing the Debtors to pay pre-

petition Sales and Use Taxes to the Taxing Authorities; and notice being sufficient under the

circumstances; and such relief being necessary to assure that operation of Debtors’ businesses

will not be disrupted and that their value as a going-concern will not be impaired, it is

ORDERED:

         1.      That the Motion is GRANTED;

         2.      That the Debtors are authorized to pay the Taxing Authorities pre-petition Sales

and Use Taxes incurred or collected by the Debtors in the ordinary course of their businesses on

the same terms and in the same manner as prior to the Petition Date; and

         3.      That nothing herein shall impair the Debtors’ ability to contest the amounts of

Sales and Use Taxes owed to the Taxing Authorities.


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1
  Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them
in the Motion.

                                                      2



                                                                    Approved by Judge Gloria M. Burns March 18, 2008
